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 Based Stickman is not to be trusted:
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 https://bbs.dailystormer.com/t/kyle-cha                         e, -
 stickman-facing-possible-life-in-prison-no                        g-to-lead-
 right-wing-movement/105348




            MatthewHeimbach                                                   6d



 I'm not the lead organizer, but in my mind, conservatives
 are our enemies as much as the Left. I do not think that
 "Based Stickman" or any of the Alt-Lite types are going to
 show up, and if they do, I don't see them standing with us.
 TWP is an explicit NS organization and we don't
 compromise on ideology. Our allies in the League of the
 South and other groups are also 100% racial nationalists,
 we have no time or desire to stand with color bling
 conservatives
